              Case 2:12-cv-01282-JLR Document 638 Filed 08/17/20 Page 1 of 4



 1                                                          THE HONORABLE JAMES L. ROBART

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     UNITED STATES OF AMERICA,                       )
 9                                                   )   Case No. 2:12-cv-01282-JLR
                                   Plaintiff,        )
10                                                   )   CITY OF SEATTLE’S STIPULATED
                    v.                               )   MOTION TO EXTEND TEMPORARY
11                                                   )   RESTRAINING ORDER AND RELATED
     CITY OF SEATTLE,                                )   BRIEFING SCHEDULE
12                                                   )
                                   Defendant.        )   NOTE ON MOTION CALENDAR: August
13                                                   )   17, 2020
                                                     )
14                                                   )
                                                     )
15
            The City of Seattle hereby moves to extend the Court’s temporary restraining order regarding
16
     the City’s Crowd Control Weapons Ordinance by an additional three weeks and to extend the related
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     briefing schedule. The U.S. Department of Justice consents to this motion.
18
            The City requests additional time for two reasons. First, as part of the process to formulate
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     the City’s ultimate position on the temporary restraining order, the City recently retained outside
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     counsel to advise the City Council regarding the interaction between the Consent Decree and the
21
     CCW Ordinance. Under the Open Public Meetings Act, RCW Ch. 42.30, privileged legal advice
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23    CITY OF SEATTLE’S STIPULATED MOTION TO EXTEND                                  Peter S. Holmes
                                                                                     Seattle City Attorney
      TEMPORARY RESTRAINING ORDER AND RELATED                                        701 Fifth Avenue, Suite 2050
      BRIEFING SCHEDULE - 1                                                          Seattle, WA 98104
      (12-CV-01282-JLR)                                                              (206) 684-8200
              Case 2:12-cv-01282-JLR Document 638 Filed 08/17/20 Page 2 of 4



 1   can be presented to and discussed with the full City Council only in an executive session which

 2   must be scheduled around other necessary legislative activities. The City believes that allowing

 3   time for outside counsel to become familiar with the legal issues and to meet with the City Council

 4   in a privileged executive session will assist the City in submitting a brief helpful to the Court.

 5          The second reason the City requests additional time is to allow the City to develop a

 6   considered response to the reports of the Office of Police Accountability, the Office of Inspector

 7   General for Public Safety, and the Community Police Commission (collectively the

 8   “Accountability Partners”) filed with the Court on August 14, 2020. The Accountability Partners

 9   were asked by Mayor Durkan and the City Council to provide recommendations regarding SPD’s

10   use of less lethal devices for crowd control management. Their reports represent months of

11   thoughtful work and community engagement. They are voluminous, totaling over one hundred

12   pages with attachments. The City will benefit from having adequate time to review and respond to

13   the Accountability Partners’ findings and recommendations.

14          For the foregoing reasons and in order to allow the needed additional time for briefing, the

15   City stipulates to extend the temporary restraining order by an additional three weeks to October

16   9. The City further proposes adjustments to the briefing schedule as follows:

17                                          Current                Proposed

18   Parties’ Memoranda (Dkt. 626)          August 22              September 12

19   DOJ’s PI Motion                        August 27              September 17

20   City’s Response                        September 8            September 29

21   DOJ’s Reply                            September 11           October 2

22   TRO Expiration                         September 18           October 9

23    CITY OF SEATTLE’S STIPULATED MOTION TO EXTEND                                    Peter S. Holmes
                                                                                       Seattle City Attorney
      TEMPORARY RESTRAINING ORDER AND RELATED                                          701 Fifth Avenue, Suite 2050
      BRIEFING SCHEDULE - 2                                                            Seattle, WA 98104
      (12-CV-01282-JLR)                                                                (206) 684-8200
              Case 2:12-cv-01282-JLR Document 638 Filed 08/17/20 Page 3 of 4



 1   Respectfully submitted,

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     DATED this 17th day of August, 2020.
 3
            For the CITY OF SEATTLE
 4

 5          PETER S. HOLMES
            Seattle City Attorney
 6
            s/ Kerala T. Cowart
 7          Kerala T. Cowart, WSBA #53649

 8          Assistant City Attorney
            Seattle City Attorney’s Office
 9          701 Fifth Avenue, Suite 2050
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23    CITY OF SEATTLE’S STIPULATED MOTION TO EXTEND                 Peter S. Holmes
                                                                    Seattle City Attorney
      TEMPORARY RESTRAINING ORDER AND RELATED                       701 Fifth Avenue, Suite 2050
      BRIEFING SCHEDULE - 3                                         Seattle, WA 98104
      (12-CV-01282-JLR)                                             (206) 684-8200
              Case 2:12-cv-01282-JLR Document 638 Filed 08/17/20 Page 4 of 4



 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on August 17, 2020, I electronically filed the foregoing with the Clerk

 3   of the Court using the CM/ECF system, which will send notification of such filing to the following:

 4           Brian T. Moran                    bmoran@usdoj.gov
 5           Christina Fogg                    Christina.Fogg@usdoj.gov
             Matt Waldrop                      james.waldrop@usdoj.gov
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             Bruce E.H. Johnson                brucejohnson@dwt.com
14           Eric M. Stahl                     ericstahl@dwt.com
15           John Wolfe                        wolfe@orrick.com

16          DATED this 17th day of August, 2020, at Seattle, King County, Washington.

17                                                s/ Kerala T. Cowart
                                                  Kerala T. Cowart, WSBA #53649
18                                                Assistant City Attorney
                                                  E-mail: kerala.cowart@seattle.gov
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23    CITY OF SEATTLE’S STIPULATED MOTION TO EXTEND                                   Peter S. Holmes
                                                                                      Seattle City Attorney
      TEMPORARY RESTRAINING ORDER AND RELATED                                         701 Fifth Avenue, Suite 2050
      BRIEFING SCHEDULE - 4                                                           Seattle, WA 98104
      (12-CV-01282-JLR)                                                               (206) 684-8200
